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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

MIKAYLA CHEYENNE SAVAGE,                §
    Plaintiff,                          §
                                        §
v.                                      §          Civil Action No.: 4:24-cv-00666
                                        §
HARRIS COUNTY, TEXAS; SHERIFF ED §
GONZALES, in his official capacity;     §
DETENTION OFFICER ARNOLDO               §
MARTINEZ, in his individual capacity;   §
DETENTION OFFICER ANDREW RADA, §
in his individual capacity; DETENTION   §
ADMINISTRATIVE OPERATIONS               §
OFFICER DANIKA MATHEWS, in her          §
individual capacity; DETENTION OFFICER§
OZALYNN LOZANO, in his individual       §
capacity; DETENTION OFFICER             §
TRUCELL LAGARDE, in her individual      §
capacity; DETENTION OFFICER TAYLOR§
HODGES, in his individual capacity;     §
DETENTION OFFICER GLORIA                §
EZEOKE, in her individual capacity; LAW §
ENFORCEMENT OFFICER MICHAEL             §
THOMAS, in his individual capacity; LAW §
ENFORCEMENT OFFICER LAKISHA             §
CHEATHAM, in her individual capacity;   §
and DETENTION OFFICER MARILYN           §
JOHN, her individual capacity           §
individual capacities.                  §
        Defendants.                     §

                    DEFENDANT LAKISHA CHEATHAM’S
            MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT
                          AND MOTION TO STAY

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant Lakisha Cheatham (hereafter “Cheatham”) files this Motion to Dismiss

Plaintiff’s Amended Complaint (DE #52), pursuant to Rule 12(b)(6) of the Federal Rules of Civil
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Procedure. In support of said motion and motion to stay, Defendant Cheatham would respectfully

show the Court as follows:



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         I.      STATEMENT OF THE NATURE AND STAGE OF PROCEEDINGS

1.      This lawsuit stems from allegations of physical, mental, and emotional abuse inflicted on

Mikayla Savage (“Savage” or “Plaintiff") by inmates at the Harris County Jail and by Harris

County Jail Detention Officers while she was detained at the Harris County Jail on or about June

2, 2022, through September 1, 2022. Savage brings this 42 U.S.C. Section 1983 claim against

numerous detention personnel but there is no Count against Cheatham.

2.      Savage filed this lawsuit in federal court on February 26, 2024 [DE #1]. Savage filed her

amended complaint on September 5, 2024 [DE #52].

3.      Defendant Cheatham now respectfully moves this Court to dismiss Plaintiff’s claims

against her.

               II. STATEMENT OF ISSUES AND STANDARD OF REVIEW


A.      Statement of Issues.


4.      The issue to be ruled upon by the Court regarding Cheatham are:

        (a)     Whether the claims against Cheatham are barred by limitations?
        (b)     Whether Plaintiff has stated a claim upon which relief can be granted against
                Cheatham?
        (c)     Whether Cheatham is entitled to qualified immunity?

B.      Standard of Review.


5.      Rule 12(b)(6). If a complaint fails to state a claim upon which relief can be granted, a trial

court may dismiss the complaint as a matter of law. See Fed. R. Civ. P. 12(b)(6); see also Ramming

v. US, 281 F.3d 158, 161 (5th Cir. 2001) (a Rule 12(b)(6) motion is “appropriate when a defendant

attacks the complaint because it fails to state a legally cognizable claim”). A Rule 12(b)(6) motion

to dismiss tests the legal sufficiency of the claims stated in the complaint and must be evaluated

solely on the basis of the pleadings. See Jackson v. Procunier, 789 F.2d 307, 309 (5th Cir. 1986);

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Morin v. Caire, 77 F.3d 116, 120 (5th Cir. 1996). Rule 12(b)(6) must be read in conjunction with

Rule 8(a), which requires “a short and plain statement of the claim showing that the pleader is

entitled to relief.” Fed. R. Civ. P. 8(a)(2); see also Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009);

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “An unadorned, the-defendant-unlawfully-

harmed-me accusation” will not suffice. Ashcroft, 556 U.S. at 678-679. Thus, “dismissal is

appropriate only if the complaint fails to plead ‘enough facts to state a claim of relief that is

plausible on its face.’” Leal v. McHugh, 731 F.3d 405, 410 (5th Cir. 2013) (quoting Twombly, 550

U.S. at 570).

6.      Surviving a motion to dismiss, therefore, requires more than hinting at “a sheer possibility

that a defendant has acted unlawfully.” Ashcroft, 556 U.S. at 678. A complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face. Id.

(quoting Twombly, 550 U.S. at 570). A claim is plausible on its face only “when the pleaded factual

content allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Montoya v. FedEx Ground Package Sys., Inc., 614 F.3d 145, 148 (5th Cir.

2010) (quoting Ashcroft, 556 U.S. at 678). “The plausibility standard is not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility that a defendant has acted unlawfully.”

Ashcroft, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 556). “Where a complaint pleads facts

that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between

possibility and plausibility of entitlement to relief.’” Id.

7.      “When considering a motion to dismiss, the court accepts as true the well-pled factual

allegations in the complaint and construes them in light most favorable to the plaintiff.” Taylor v.

Books A Million, Inc., 296 F.3d 376, 378 (5th Cir. 2002); see also U.S. ex rel. Willard v. Humana

Health Plan of Tex., Inc., 336 F.3d 375, 379 (5th Cir. 2003) (internal citation omitted). However,



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courts are not bound to accept as true “threadbare recitals of the elements of a cause of action,

supported by mere conclusory statement,” or legal conclusions couched as factual assertions. See

Shaw v. Villanueva, 918 F.3d 414, 415 (5th Cir. 2019) (quoting Ashcroft, 556 US at 678); see also

Hale v. King, 642 F.3d 492, 499 (5th Cir. 2011) (“plaintiff must allege facts that support the

elements of the cause of action in order to make out a valid claim”).

8.        “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed

factual allegations…a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to relief’

requires more than labels and conclusions, and formulaic recitation of the elements of a cause of

action.” Twombly, 550 U.S. at 544. Thus, dismissal is proper if the complaint lacks an allegation

regarding a required element necessary to obtain relief. See Apani Southwest, Inc. v. Coca-Cola

Enterprises, Inc., 300 F.3d 620, 624 (5th Cir. 2001) (quoting Blackburn v. City of Marshall, 42

F.3d 925, 931 (5th Cir. 1995)); see also Hale, 642 F.3d at 499. Conclusory allegations or legal

conclusions masquerading as factual conclusions are not adequate to prevent dismissal. Taylor,

296 F.3d at 378 (quoting Fernandez-Montes v. Allied Pilots Ass’n., 987 F.2d 278, 284 (5th Cir.

1993)).

                             III.    SUMMARY OF THE ARGUMENT

9.        Plaintiff fails to state a viable individual capacity claim against Cheatham for a

constitutional violation. Plaintiff’s claims are barred by limitations. Plaintiff’s pleadings are

devoid of any facts that are sufficient to state a plausible claim that Cheatham had personal

knowledge of a substantial risk of serious harm to her and responded with deliberate indifference

to that risk. Rather, Plaintiff relies on conclusory statements that cannot survive a motion to

dismiss. Even if the Plaintiff’s pleadings are found to be sufficient, Plaintiff has failed to establish

a waiver of qualified immunity. Therefore, Plaintiff’s claim against Cheatham should be

dismissed.
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                              IV.    ARGUMENT AND AUTHORITIES

C.       Statute of Limitations

10.      Plaintiff’s amended complaint which asserts claims against Cheatham, one of the newly

named defendants, is futile and should be dismissed. In the Amended Complaint, Plaintiff

named—for the first time—Lakisha Cheatham as a Defendant. The claims against Cheatham are

barred by the statute of limitations and should be dismissed. Plaintiff continues to overreach rather

than litigate the case based on the cognizable claims.

11.      The statute of limitations for a 42 U.S.C §1983 claim in Texas is two years. Beckwith v.

City of Houston, 790 Fed. Appx. 568, 572-73 (5th Cir. 2019). Plaintiff does not allege any

wrongful conduct by Cheatham after July 8, 2022. DE 52 paras. 85-87. The date that limitations

ran for Cheatham is two years from the date of the last alleged act or omission attributed to that

individual. Beckwith v. City of Houston, 790 Fed. Appx. 568, 572-73 (5th Cir. 2019).

12.      Plaintiff’s claims against Cheatham do not relate back to the claims against the John Does.

The case law from the 5th Circuit is crystal clear on this issue. Fed. R. Civ. P. 15; Jacobsen v.

Osborne, 133 F.3d 315, 320-321 (5th Cir. 1998); Winzer v. Kaufman Co., 916 F.3d 464, 470-471

(5th Cir. 2019); Balle v. Nueces Co., 952 F.3d 552, 556-558 (5th Cir. 2017); Waters v. City of

Hearne, 629 F.App’x. 606, 610 (5th Cir. 2015);Clark v. Thompson, 850 F.Appx. 203, 206-207

(5th Cir. 2021).

13.      The last act or omission Plaintiff attributes to Cheatham occurred on July 8, 2022. DE 52

para. 87. Plaintiff sought leave to amend on August 29, 2024, more than two years after the events

attributed to Cheatham. These claims are barred.

14.      There is no basis to toll the statute of limitations for the claims asserted against

Cheatham. Tex. Gov’t Code §22.0035 covers tolling due to a natural disaster. The state

legislature empowered the Texas Supreme Court to toll limitations if necessary. See, e.g., First

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Emergency Order Regarding Covid, 596 S.W.3d 265 (Tex. 2020). In response to Hurricane

Beryl, the Texas Supreme Court did not extend the statute of limitations that applies to a §1983

claim. The Court only extended deadlines for cases in the Justice Courts in a few counties. Id.

Even if the Hurricane Beryl Emergency Order could be interpreted to extend the applicable

statute of limitations, that extension expired on July 26, 2024—over a month before Plaintiff

sought leave to file DE 50-1. Furthermore, equitable tolling is inappropriate in this case. The

“equitable tolling principles” of the forum state “control in § 1983 cases.” King–White v. Humble

Indep. Sch. Dist., 803 F.3d 754, 764 (5th Cir. 2015). Under Texas law, “equitable tolling is a

‘sparingly’ invoked doctrine,” to be used only in cases where the plaintiff has “excusable

ignorance of the limitations period” and has shown “diligence in pursuing one's

rights.” Hand v. Stevens Transp., Inc. Employee Benefit Plan, 83 S.W.3d 286, 293 (Tex. App. 20

02).

D.       No Plausible Claim Against Cheatham.

 15.     Pretrial detainees such as Savage are entitled to have the essentials of their wellbeing

 tended while in custody, including the provision of medical care and protection. Hare v City of

 Corinth, 74 F.3d 633, 639 (5th Cir. 1995). Claims for denial of medical care and for failure to

 protect are treated the same of for purposes of measuring constitutional liability. Id. at 643.

 “Liability for failing to provide such care attaches if the plaintiff can show that a state official

 acted with deliberate indifference to a substantial risk of serious medical harm and that injuries

 resulted.” Wagner v. Bay City, Tex., 227 F.3d 316, 324 (5th Cir. 2000) (citing Hare v. City of

 Corinth, 74 F.3d 633, 647-48 (5th Cir.1996) (en banc)). “Deliberate indifference is an extremely

 high standard.” Estate of Bonilla v. Orange Cnty, 982 F.3d 209, 305 (5th Cir. 2020)(citing

 Domino v. Texas Dep’t of Crim. Justice, 239 F.3d 752, 756 (5th Cir. 2001)). To prove deliberate

 indifference, a plaintiff must show that the prison official was “aware of facts from which the
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inference could be drawn that a substantial risk of serious harm exists, that the official actually

drew the inference and disregarded that risk by failing to abate it.” Id. (citing Hyatt v. Thomas,

843 F.3d 172, 177 (5th Cir. 2016)). It is a subjective standard that “requires that a prison official

has actual knowledge of a serious risk of harm and then consciously disregard that risk.” Mosely

v. Bexar Cty., Civil Action No. SA-17-cv-583-XR, 2020 WL 589540, at *8 (W.D. Tex. Feb. 5,

2020) (internal citation omitted); see also Perniciaro v. Lea, 901 F.3d 241, 257 (5th Cir. 2018)

(“knowledge, in this context, requires that an official is both aware of facts from which an

inference of harm could be drawn and actually draws that inference”). In paragraphs 85-87,

Plaintiff alleges that she suffered five physical and sexual assaults over a two month period and

alleges Cheatham primarily supervised the units Savage was in and failed to intervene and

instead denied her access to medical care. Such conclusory claims are patently insufficient to

establish deliberate indifference. To succeed on a deliberate indifference claim, a plaintiff must

show that (1) the official was aware of facts from which the inference could be drawn that a

substantial risk of serious harm exists, and (2) the official actually drew that indifference. Dyer

v. Houston, 964 F.3d 374, 380 (5th Cir. 2020). The official’s conduct must demonstrate

subjective awareness of a substantial risk of serious harm and a failure to take reasonable

measures to abate this risk. Domino v. Tex. Dept of Criminal Justice, 239 F.3d 752, 755 (5th

Cir. 2001). Here Plaintiff has not alleged facts which show that Cheatham “refused to treat her,

ignored his complaints, intentionally treated her incorrectly, or engaged in any similar conduct

that would clearly evince a wanton disregard for any serious medical need.” Alderson v.

Concordia Par. Corr. Facility, 848 F.3d 415, 420 (5th Cir. 2017). Plaintiff has conclusorily

alleged that as a supervisor, Cheatham denied Savage access to medical care and failed to

intervene. The allegations has no factual support.



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16.    An officer may be liable under § 1983 under a theory of bystander liability where the

officer “(1) knows that a fellow officer is violating an individual's constitutional rights; (2) has a

reasonable opportunity to prevent the harm; and (3) chooses not to act.” Whitley v. Hanna, 726

F.3d 631, 646 (5th Cir. 2013). Even if a plaintiff can show that the officer was present, a

bystander liability claim is not made unless the plaintiff also shows that the officer “acquiesced”

in the conduct so as to functionally participate in the act itself.30 Similarly, to state a claim of

supervisor liability for constitutional violations committed by subordinates, Plaintiff is required

to plead specific facts which show the “supervisor acted, or failed to act, with deliberate

indifference to violations of others’ constitutional rights committed by their subordinates.”

Pena v. City of Rio Grande, 879 F.3d 6123, 620 (5th Cir. 2018).

17.    Because this claim requires an evaluation of both subjective knowledge and objective

reasonableness, the court must consider each officer’s role in the alleged events. Longoria v.

Texas, 473 F.3d 586, 593 (5th Cir. 2006). It is improper to analyze the claim based upon the alleged

role of an entire group of officers. Id. see also Ibarra v. Harris County, 243 F. Appx 830, 835

(5th Cir. 2007).

18.    Here, Plaintiff does not allege facts sufficient to show that Defendant Cheatham was

present and in a position during any assault such that she (1) knew that another officer was

violating Savage’s rights, and (2) had a reasonable opportunity to intervene to prevent the harm.

Indeed, Plaintiff’s only allegations of bystander (or supervisor) liability against Defendant

Cheatham are conclusory and are improperly pled in the collective. See Dkt. 52, ¶¶ 85-88.

Plaintiff does not allege facts showing that Cheatham had knowledge and an ability to intervene.

For instance, Plaintiff does not allege where and when, if at all, Cheatham physically was that

would have provided her with a reasonable opportunity to intervene and prevent a constitutional

deprivation by another jailer. Plaintiff also alleges no facts that specifically show that Cheatham
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“acquiesced in” the alleged conduct.

E.       Cheatham’s Entitlement to Qualified Immunity

19.      The doctrine of qualified immunity protects government officials “from liability for civil

damages insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818,

(1982). Qualified immunity balances two important interests—the need to hold public officials

accountable when they exercise power irresponsibly and the need to shield officials from

harassment, distraction, and liability when they perform their duties reasonably. The protection of

qualified immunity applies regardless of whether the government official's error is “a mistake of

law, a mistake of fact, or a mistake based on mixed questions of law and fact.” Groh v. Ramirez,

540 U.S. 551, 567 (2004) (quoting Butz v. Economou, 438 U.S. 478, 507 (1978), for the

proposition that qualified immunity covers “mere mistakes in judgment, whether the mistake is

one of fact or one of law”).

20.      Because qualified immunity is “an immunity from suit rather than a mere defense to

liability ... it is effectively lost if a case is erroneously permitted to go to trial.” Mitchell v. Forsyth,

472 U.S. 511, 526 (1985) (emphasis deleted). Indeed, we have made clear that the “driving force”

behind creation of the qualified immunity doctrine was a desire to ensure that “ ‘insubstantial

claims' against government officials [will] be resolved prior to discovery.” Anderson v. Creighton,

483 U.S. 635, 640, n. 2 (1987). Accordingly, “we repeatedly have stressed the importance of

resolving immunity questions at the earliest possible stage in litigation.” Hunter v. Bryant, 502

U.S. 224, 227 (1991) (per curiam).

21.      Even if the complaint sufficiently pleads the violation of a clearly established federal or

constitutional right, the court must nonetheless determine if a reasonable public official could

have decided that the alleged conduct was lawful, because a public official is nonetheless entitled
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to qualified immunity if a “reasonable official would be left uncertain of the application of the

standard to the facts confronting him.” Hopkins v. Stice, 916 F.2d 1029, 1031 (5th Cir. 1990).

In this case, the viability of Plaintiff’s failure to render medical aid claim, and the bystander

liability claim, turn on the issues whether Cheatham is entitled to qualified immunity based upon

the undisputed, and undisputable, facts.

22.    “Qualified immunity balances two important interests–the need to hold public officials

accountable when they exercise power irresponsibly and the need to shield officials from

harassment, distraction, and liability when they perform their duties reasonably.” Pearson v.

Callahan, 555 U.S. 2 2 3 , 231 (2009). Since the qualified immunity doctrine is designed to

protect “all but the plainly incompetent or those who knowingly violate the law” (Malley v.

Briggs, 475 U.S. 335, 341 (1986)), courts do not deny its protection unless existing precedent

places the constitutional question “beyond debate.” Morgan v Swanson, 659 F.3d 359, 371 (5th

Cir. 2011). To reiterate from above, since Cheatham has asserted the defense of qualified

immunity, Plaintiff therefore bear the burden to establish that Defendant is not entitled to

qualified immunity. See, e.g., McClendon v. City of Columbia, 305 F.3d 314, 323 (5th Cir.

2002) (“When a defendant invokes qualified immunity, the burden is on the plaintiff to

demonstrate the inapplicability of the defense.”). The relevant question is whether a reasonable

public official such as Defendant could have believed that her conduct was lawful in light of

clearly established law and the information possessed by her. Creighton, 483 U.S. at 641.

Thus, an official’s mistaken belief may be as to the applicable law, or the mistaken belief

may be as to the facts, on which she acted.          Taking as true Plaintiff’s allegations about

Defendant Cheatham in her individual capacity, Plaintiff has failed to plead a constitutional

violation by Cheatham. In the absence of a constitutional violation, Cheatham is entitled to a



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dismissal based on qualified immunity. Darden v Forth Worth, 880 F.3d 722, 727 (5th Cir. 2018);

see also, Tiede v. Salazar, 518 F. Supp. 3d 955, 966–67 (W.D. Tex. 2021), appeal dismissed sub

nom. Tiede v. Martinez, No. 21-50234, 2021 WL 4301278 (5th Cir. Aug. 26, 2021).

23.    Motion to Stay. Cheatham asserts her entitlement to qualified immunity and requests the

Court stay all discovery pending resolution of that issue. Immunity is intended to shield the

defendant from the burdens of defending the suit. One of the benefits of an immunity defense is

“avoiding the costs and general consequences of subjecting public officials to the risks of

discovery.” Puerto Rico Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 143-144

(1993). The benefit of avoiding the burden of discovery is lost when Cheatham is forced to move

forward with discovery before her immunity defense has been resolved. See Id. at 145; see also

Ashcroft v. Iqbal, 556 U.S. 662, 684-86 (2009) (recognizing “serious and legitimate reasons” for

the basic thrust of qualified immunity—to free government officials from the concerns of

litigation, including disruptive discovery, and noting that permitting discovery to proceed as to

other governmental officials would prejudice Cheatham who has asserted qualified immunity).

Because Cheatham has raised qualified immunity, discovery cannot be permitted against the other

immunity-asserting defendants before this Court rules on the pending motion to dismiss. See

Carswell v. Camp, 54 F.4th 307 (5th Cir. 2022). Cheatham therefore, respectfully moves this

Court to stay all discovery until her assertion of immunity is resolved.

                                        V.      CONCLUSION

24.    For the reasons stated herein, Plaintiff has failed to state any claim upon which relief can

be granted against Defendant Cheatham. Accordingly, Cheatham is entitled to dismissal of

Plaintiff’s claims against her as a matter of law.




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       WHEREFORE, PREMISES CONSIDERED, Defendant LAKISHA CHEATHAM

requests the Court grant her motion and enter an order dismissing Plaintiff’s claim against her and

grant all other relief to which this Defendant is entitled.

Date: February 12, 2025
                                               Respectfully submitted,
                                               CHRISTIAN D. MENEFEE
                                               HARRIS COUNTY ATTORNEY

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                                               DEPUTY COUNTY ATTORNEY AND FIRST
                                               ASSISTANT

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                                               MANAGING COUNSEL,
                                               DEFENSIVE LITIGATION, EMPLOYMENT, & REAL
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                                               Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       I certify that, on Feb. 12, 2025 I conferred via email with counsel for Plaintiff on the
proposed stay and motion to dismiss. Both are opposed.

                                                     /s/ Jim Butt
                                                     Jim Butt




                                CERTIFICATE OF SERVICE

       I certify that, pursuant to Federal Rules of Civil Procedure, a true copy of the instrument
to which this certificate is attached was filed with the clerk of the court using CM/ECF system,
which will send electronic notification for those listed of record who receive electronically filed
documents.

                                                     /s/ Jim Butt
                                                     Jim Butt




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